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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 0:24-cv-60530-AHS

TESLA, INC.,

       Plaintiff,
v.

THE INDIVIDUALS, PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

       Defendants.
                                            /

                              NOTICE OF VOLUNTARY DISMISSAL
                              AS TO CERTAIN DEFENDANTS ONLY

       PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and by undersigned counsel,

Plaintiff hereby voluntarily dismisses with prejudice all claims against the following Defendants:

                                     VAUGHAN-E-COMMERCE-LTD (DOE 298)

                                     SHAMALL US (DOE 9)

                                     TXROMTZ (DOE 85)

                                     DAYBREAK41 (DOE 179)

                                     AUTOPARTSDO2019 (DOE 145)

                                     RATZSDALA (DOE 65)

                                     SPEEDKINGAUTOPARTS (DOE 357)

                                     MOTORPARTSLED (DOE 379)

                                     AOTOPART-HOUSING (DOE 381)

                                     VEHICLEAUTOPARTSLUO (DOE 430)

                                     SUNCSTOCK (DOE 478)

                                     RASTUNINGPARTS (DOE 289)
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                             XINYUANMAN (DOE 41)

                             QUANSHOU TRADING (DOE 55)

                             WO VIEW CO., LTD (DOE 87)

                             VIGOSHOP2015 (DOE 286)

                             STARTSIGN (DOE 203)

Date:   June 17, 2024               Respectfully submitted by,

                                    Richard Guerra
                                    Richard Guerra (Fla. Bar No. 689521)
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                                    Attorneys for Plaintiff
